Case 10-93904-BHL-11   Doc 1110-1   Filed 03/23/12   EOD 03/23/12 10:49:05   Pg 1 of 6




                                     Exhibit A
Case 10-93904-BHL-11   Doc 1110-1   Filed 03/23/12   EOD 03/23/12 10:49:05   Pg 2 of 6
Case 10-93904-BHL-11   Doc 1110-1   Filed 03/23/12   EOD 03/23/12 10:49:05   Pg 3 of 6
Case 10-93904-BHL-11   Doc 1110-1   Filed 03/23/12   EOD 03/23/12 10:49:05   Pg 4 of 6
Case 10-93904-BHL-11   Doc 1110-1   Filed 03/23/12   EOD 03/23/12 10:49:05   Pg 5 of 6
Case 10-93904-BHL-11   Doc 1110-1   Filed 03/23/12   EOD 03/23/12 10:49:05   Pg 6 of 6
